 

Case 3:16-bk-02232-PI\/|G Doc 45 Filed 04/27/18 Page 1 of 1

t FlLED le MA|
{Y{(E)\g|( Department of JACKSONV|LLE, FLOR||;)A
ST'_“E Taxation and Finance t APR 2 7 2018

BANKRUPTCY UN lT CLERK, U. S BANKRUPTCY CQUHT

MlDDLE D|SmlCT UF FLOR|DA
04/23/2018

UN|TED STATES BANKRUPTCY COURT
M|DDLE D|STR|CT OF FLOR|DA

300 NORTH HOGAN STREET

SU|TE 3_-350

JACKSONV|LLE, FL 32202-4204

Re. C|aim Withdrawa| for PREM|ER EXH|B|T|ONS, |NC.
Docket#.16-02232 '

Dear Sir/Madam:

New York State Department of Taxation and Finance is withdrawing the 3rd Amended
Pre-Petition proof of claim in the amount of $438,396.55 with a statement date of
04/23/2018. The surviving claim is the 2nd Amended Pre-Petition proof of claim and in
the amount of $390,875.90 with a statement date of 11/27/2017.

|f you have any questions, please contact me at (518) 457-3160.

Sincerely,

Ho|jm'i'§itchcock

Tax Compliance Representative l

 

PO Box 5300, Albany NY12205 | (518) 457-3160 |www.tax.ny.gov

 

